          Case 4:13-cr-00144-BSM Document 8 Filed 05/21/13 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DISTRICT



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )                     4:13CR00144-01 BSM
                                             )
CHESTER GREEN                                )


                                            ORDER

       The defendant’s motion for continuance is granted, and the initial appearance and

arraignment is re-scheduled for Wednesday, May 22, 2013, at 2:00 p.m. This Order will provide

the only notice to the defendant of the new time for the plea and arraignment.

       IT IS SO ORDERED this 21         day of May, 2013.




                                                 UNITED STATES MAGISTRATE JUDGE
